             Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 1 of 22



1 ERIC G. YOUNG, ESQ. (SBN 190104)
     YOUNG LAW GROUP
2 2544 Cleveland Avenue, Suite 210
     Santa Rosa, California 95403
3 Tel.: 707.343.0556
     Fax: 707.327.4360
4 Email: eyoung@younglawca.com
     E-Service: service@younglawca.com
5

6
     Attorneys for Plaintiff
     RONALD CUPP
7

8
                               UNITED STATES DISTRICT COURT
9
             NOTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION
10

11
     RONALD CUPP, an individual,                         CASE NO.: 4:23-cv-01007
12
             Plaintiff,                                  DECLARATION OF ERIC G.
13                                                       YOUNG IN OPPOSITION TO
             vs.                                         DEFENDANT COUNTY OF
14                                                       SONOMA’S MOTION TO DISMISS
     COUNTY OF SONOMA, a municipal
15 corporation; TENNIS WICK, in his
     individual and official capacities; TYRA            Date: June 29, 2023
16 HARRINGTON, in her individual and official            Time: 2:00 p.m.
     capacities; MARK FRANCESCHI, in his                 Courtroom: 6, 2nd Floor
17 individual and official capacities; TODD              Judge: Jon S. Tigar
     HOFFMAN, in his individual and official
18 capacities; JESSE CABLK, in his individual
     and official capacities; ANDREW SMITH, in
19 his individual and official capacities; and
     DOES 1-50, inclusive.
20

21           Defendants.
22
            I, ERIC G. YOUNG, declare:
23
            1. I am an attorney duly licensed to practice law before all Courts of the State of
24

25 California. I am admitted to practice before this Court. I am the attorney of record for the

26 Plaintiff in this action. If called upon, I could and would competently testify to the matters

27 stated herein from my own personal knowledge, except for those matters which are stated

28
     on information and belief. As to those matters, I believe them to be true.
                              __________________________________________
       YOUNG DECLARATION IN OPPOSITION TO DEFENDANT COUNTY OF SONOMA’S MOTION TO DISMISS
                                                  -1
             Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 2 of 22



1           2. Attached hereto as Exhibit 1, and incorporated herein by this reference, is a
2
     true and correct copy of an organizational chart for Permit Resource Management
3
     Department (PRMD) showing the current hierarchy of the Department, including the
4
     position of the PRMD Director, Defendant Tennis Wick, and the Code Enforcement
5

6 Manager, Defendant Tyra Harrington. I submit this chart to the Court to help the Court

7 visualize the structure of PRMD, its various divisions, and the position of its officials. I

8 obtained this organizational chart on April 20, 2023 from the County’s official website

9
     located at the following address:
10
            https://permitsonoma.org/Microsites/Permit%20Sonoma/Documents/Divisions/
11          Administration/OrgChart/Permit%20Sonoma%20Organizational%20Chart.pdf
12
            3. Attached to the Complaint are six (6) affidavits/declarations from individuals
13
     who have been adversely affected by PRMD’s Code Enforcement activities, similar in
14
     nature to those alleged in the Complaint. Since obtaining these initial six declarations, I
15

16 have obtained five (5) more as well as a supplemental declaration from one declarant,

17 Elias Stavrinides, detailing additional constitutional violations by PRMD officials.

18
     Attached hereto as Exhibit 2, and incorporated herein by this reference, are true and
19
     correct copies of these additional declarations, which I have obtained.
20
            4. In addition to these individuals who have been willing to go on record about
21

22 their interactions with the County, I know of at least 10-20 additional persons who have

23 been adversely affected by PRMD under circumstances similar to the allegations made by

24 Plaintiff. These are individuals from whom I have either not yet had an opportunity to

25
     obtain declarations, or they are fearful of reprisal from the County if they come forward.
26
            5. I sent a Public Records Act Request to the County on or about June 24, 2022 as
27

28
     part of my investigation into the allegations in this matter. Among other requests, I made

                              __________________________________________
       YOUNG DECLARATION IN OPPOSITION TO DEFENDANT COUNTY OF SONOMA’S MOTION TO DISMISS
                                                  -2
             Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 3 of 22



1 certain requests for information by property address. In mid-July, I spoke with Deputy

2
     County Counsel, Holly Ricketts, and was told by her that PRMD did not keep records by
3
     property address, so the County either could not comply with the PRA request, or it would
4
     be cost prohibitive for me to pursue the request (although a specific cost was never
5

6 provided). Subsequently, I came into possession of a spreadsheet that is 8,131 pages when

7 PDFd showing open violations by property address in the County of Sonoma. Due to its

8 length and the presence of personally identifying information about individuals with

9
     outstanding violations in the County, I have not attached the spreadsheet as an exhibit to
10
     this Declaration, but I am happy to provide it to the Court on a thumb drive, disc, etc. I
11

12
     believe many, if not all, of these individuals have also been affected by the policies and

13 practices of the County Plaintiff alleges in his Complaint. For that reason, I believe this

14 matter may well be better pleaded as a class action, and I respectfully request leave to do

15
     so.
16
            5. Whether as a class or not, I do not believe that Plaintiff’s allegations are isolated
17
     incidents. I will be filing additional suits on behalf of affected property owners who are
18

19 willing to come forward with allegations. I believe Plaintiff has additional claims he can

20 make which are not part of the present Complaint, which I would like an opportunity to

21
     amend to include in this suit.
22
            I declare under penalty of perjury that the foregoing is true and correct
23

24 Dated: April 20, 2023                               YOUNG LAW GROUP
25

26
                                                       By: /s/Eric G. Young, Esq.__________
27                                                         ERIC G. YOUNG, ESQ., Attorneys for
                                                           Plaintiff RONALD CUPP
28

                              __________________________________________
       YOUNG DECLARATION IN OPPOSITION TO DEFENDANT COUNTY OF SONOMA’S MOTION TO DISMISS
                                                  -3
                                                                                      Permit Sonoma                                                                                        BOARD of SUPERVISORS
                                                                                     County of Sonoma
                                                                                   Organizational Chart
                                                                                   Fiscal Year 2021‐2022
                                                                                                                                                                                                                     Permit Sonoma
                                                                                                                                                                                                                        Director
       Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 4 of 22




                                                                             Administration                                                                                                                                                                                             Natural Resources                                                          Administrative Aide
                                                                                Division                   Code Enforcement    Customer Service    Department Program                                 Engineering and Construction Division               Fire Division                                                         Planning Division
                                                                                                                                                                                                                                                                                         PRMD Division
                                                                             Deputy Director                   Manager           Ombudsman              Manager                                     Deputy Director Engineering & Construction      Fire Warden / Marshall                                                   Deputy Director Planning
                                                                                                                                                                                                                                                                                            Manager
                                                                             Administration
                                                                                   Secretary                   Secretary                                                                        Secretary                                        ‐Fire Services Officer            ‐Sr. Env Specialist                                           Secretaries
                                                                                                                                                  ‐Marketing Specialist                                                                                                            ‐Geologist
                                                                                                                                                                                                                                                 ‐Department Analyst
                                                                                                                                                                                                                                                 ‐Sr. Fire Inspector               ‐Department Program Manager
                                                                               Accounting                  Code Enforcement
                                                                              Accountant III                  Supervisor                                                    Building Division                                                                                                                    Comprehensive
                                                                                                                                                                                                                 Engineering & Water Resources                                                                                                   Project Review
                                                                                                                                                                                Manager                           Engineering Division Manager                                                                      Planning                     PRMD Division
                                                                                                                                                                                                                                                           Prevention                                             PRMD Division                     Manager
                                                                         ‐Accountant II                 ‐Sr CE Inspector                                                                                                                                                                                            Manager
                                                                         ‐Accounting Technician         ‐CE Inspector II
                                                                         ‐Sr Account Clerk              ‐CE Inspector I                                                     Building Inspection                          County Surveyor
                                                                                                                                                                                                                     Licensed Land Surveyor      ‐Sr. Building Plans Examiner II
                                                                         ‐Account Clerk II              ‐Sr Office Assistant                                              Sup. Building Inspector                                                ‐Fire Inspector I
                                                                         ‐Sr Office Assistant                                                                                                                                                                                                                  Supervising Planner             Supervising Planner
                                                                                                                                                                                                                                                 ‐Secretary
                                                                                                                                                                                                                                                 ‐Sr. Office Assistant
                                                                                                                                                                                                                ‐Engineering Tech III
                                                                            Customer Service
                                                                                                                                                                     ‐Sr Building Inspector
                                                                             Permit In‐Take                                                                                                                                                                                                                 ‐Planner III
                                                                                                                                                                     ‐Building Inspector II                                                                                                                                                 ‐Planner III
                                                                               Supervisor                                                                                                                                                                                                                   ‐Planner I
                                                                                                                                                                     ‐Building Inspector I                         Engineering Senior Engineer        Hazardous Materials                                                                   ‐Planner II
                                                                                                                                                                     ‐Sr Office Assistant                                                                                                                                                   ‐Planner I
                                                                                                                                                                                                                                                                                                                                            ‐Planning Technician
                                                                         ‐Permit Technician II
                                                                         ‐Permit Technician I                                                                                                                   ‐Engineer                        ‐Fire Inspector II
                                                                         ‐Office Assistant II                                                                                                                   ‐Assistant Engineer              ‐Fire Inspector I
                                                                                                                                                                                Plan Check                      ‐Junior Engineer                 ‐Secretary                                                     Supervising Planner
                                                                                                                                                                              Senior Engineer                                                                                                                                                  Supervising Planner
                                                                                                                                                                                                                ‐Engineering Tech III
                                                                                                                                                                                                                ‐Engineering Tech II
                                                                           Dept Information
                                                                                                                                                                                                                ‐Engineering Tech I
                                                                               Systems                                                                                                                                                                                                                       ‐Planner II
                                                                                                                                                                                                                ‐Sr Office Assistant                Vegetation Management
                                                                             DIS Manager                                                                                                                                                                                                                     ‐Planner I                     ‐Planner III
                                                                                                                                                                      ‐Engineer
                                                                                                                                                                                                                                                                                                             ‐Secretary                     ‐Planner I
                                                                                                                                                                      ‐Sr Building Plans Examiner
                                                                                                                                                                      ‐Building Plans Examiner II                    Engineering Inspection                                                                  ‐Senior Office Assistant
                                                                        ‐Sr GIT                                                                                       ‐Sr Office Assistant                            Engineering Tech IV
                                                                        ‐GIT II                                                                                                                                                                   ‐Maintenance Worker II
                                                                        ‐DISS II                                                                                                                                                                  ‐Maintenance Worker I
                                                                                                                                                                                                                ‐Engineering Tech III
                                                                                                                                                                                                                ‐Engineering Tech II
                                                                               Human                                                                                                                            ‐Engineering Tech I
                                                                           Resources Officer
                                                                                                                                                                                                                          Well & Septic
EXHIBIT 1




                                                                         ‐Admin Aide                                                                                                                                     Supervising EHS
                                                                        ‐Payroll Clerk
                                                                                                                                                                                                                ‐Sr. Env Health Specialist
                                                                                                  ‐Senior Office Assistant                                                                                      ‐Env Health Specialist II
                                                                          Department Analyst                                                                                                                    ‐Sr. Office Assistant
                                                                                                  ‐Office Assistant II
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 5 of 22




                    EXHIBIT “2”
             Cupp v County of Sonoma
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 6 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 7 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 8 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 9 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 10 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 11 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 12 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 13 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 14 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 15 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 16 of 22
        Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 17 of 22




                         DECLARATION OF FRANCIS GREG STEIL

I, Francis Greg Steil, declare as follows:

1.      The matters set forth herein are based on my personal knowledge and if called to testify
in this matter, I could and would competently testify thereto.

2.      My name is Francis Greg Steil, I live at 414 Hunter Lane Ext, Santa Rosa, CA 95404. I
have been in public service my entire adult life. I was a San Francisco Fireman for 32 years and
have lived in Sonoma County for most of my adult life. I am a property owner in Sonoma
County. I lease out my property to tenants. These matters pertain to my rental property at 6905-
6911, 6913 Highway 116 South, Cotati, CA 94931.
        On September 7th, 2022, at nine in the morning, my wife received a picture and a phone
call from one of my tenants stating that the county had put a violation on the mailbox. At 10:00
AM, I called the number, which was Todd Hoffman. At 11:00 AM, he called me back. I asked
him what the problem was. He said that we had an illegal commercial cannabis grower.
        I said, “where is the marijuana?” He said, “it was in the greenhouse.” I said, “what did
you do, walk down the driveway and look in the greenhouse?”. He said “no, he saw it on satellite
pictures”. I said, "What do we have to do?" He said, "You have to remove all the plants. Send
him pictures before midnight that day." So, I said, "Okay."
        I called my tenant. I told him, "If you had anything there, it had to be removed, had to
take pictures and send it to Todd Hoffman." My tenant asked me, "What phone number?" I said,
"The phone number that's on the violation." The next day, my tenant called me, told me that the
pictures had been taken and sent to the phone number that I told him.
        I called Hoffman. I told him that happened. Hoffman called me back. This is around 11
o'clock on the eighth, (next day) in the morning. He said that he never received pictures. I said,
"Okay." He said, "What number did you send it to?" I told him the number on the violation. He
says, "That's the wrong number," gave me another number. I called my tenant, told my tenant the
number. The tenant sent pictures to that number.
        Then Todd Hoffman notified me, he had to do a site inspection. I said, "Fine, we'll do it
at the beginning of next week." He said, "No, we'll do it Friday, 8:40 in the morning." I was there
at 8:40 in the morning.
        Hoffman and another inspector (don’t know his name) showed up. My tenant Alan Long
was there with me. We walked into the greenhouse. Hoffman walked through the greenhouse,
took pictures. When he came out of the greenhouse, he said, "Let me in that building." (another
structure on site). I said, "No." I said, "I thought you said you saw cannabis with the satellite
pictures. What did your satellite see in my building?" I was feeling threatened by them and being
violated by then.
        Hoffman said, "I don't need anything like that. I can go anywhere I want and do anything
I want." I cussed at him. I told him where he could go and told him to “get off my property”. He
says, "Okay, I will." Hoffman was angry and acting vindictive at this point.
        My tenant says, "Let him look in the building." He opened a door, let them look in the
building.




                                                                                      Page 1 of 3
        Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 18 of 22




         Then Todd Hoffman started looking around for other things, talking about, "What about
all these non-operative motor vehicles?" That's when I swore at him again, told him to get off my
property.
         Hoffman said, "Oh, you're going to pay for this. I'm just getting warmed up." Three hours
later that day, Friday, September 9th, 2022, Hoffman put two more pages of violations on that
property, and he put two more pages of violations on the property next door that I own; for non-
operative motor vehicles, construction without permits, 3 ea illegal (don’t see how these are
illegal) sea train (shipping) containers, junkyard conditions.
         So, I and my tenant started to clean the property (for about a month) to try and comply.
         I contacted Hoffman and Tyra Harrington (his boss) through emails and asked for an
extension of time to remove vehicles and junkyard conditions, and get permits signed off. Tyra
Harrington said, “no extensions”.
         September 29, 2022, I was notified by letter a “notice of abatement” had been recorded
on my property. There was no reason to do this, I was complying. I never even got a chance to
have a hearing. without notice, or due process to punish me so I couldn't refinance them. This
was done as punishment as I was complying with their demands even though I felt their demands
were unreasonable and only because I told Hoffman to leave my property.
         This resulted in hurting me severely and financially by stopping my refinance of the
property. This action caused me financial and emotional difficulties. I continued giving Hoffman
and Harrington updates on my progress to clear up violations on my property.
           I finished cleaning up the property. Had Hoffman come out again for inspection October
6th, and Hoffman signed off the citations. At the end of reinspection, Hoffman asked me if I had
gotten demo permits for the shipping containers? I said “no, I did not. They were put on trailers
and hauled off”. Hoffman told me he would not sign off on the violations until I got demo
permits for the three containers. I went to the County that day and got demo permits because
Hoffman still wanted to punish me because I would not allow him to search my property.
         Everything was supposed to have been signed off except for paying the fine for the
marijuana.
         During this time, I was also talking to what they call “Ombudsman” who’s job it is to
assist and mediate these problems with the County, PRMD and Code Enforcement (where
Harrington and Hoffman work). I told him that I had cussed at Hoffman, and he said that “you
should not have done that, he is vindictive and that does not help your situation”.
         After that, when I was in the County offices one day, Tyra Harrington took me out into
the meeting room and said to me “OH, we are the bad guys now?” because I had talked to the
Ombudsman.
         They sent me applications to have the notice of abatement removed from my property. I
filled them out, took them up to the County, gave them to Tara Harrington, and she asked me if I
paid the marijuana violation. I said, "No, that was not mine." And she goes, "I'm not going to
remove these abatements from your deed." Harrington told me to “just pay the fines and go after
my tenant to get the money back”.
         Tyra Harrington and myself we went back and forth with phone calls and emails, and
Tyra said that she would drop the fine from $24,000 to $16,000 if I paid by Friday. Friday came
and went, and we did not pay. I told Tyra Harrington I wanted to appeal the fine, and she came



                                                                                     Page 2 of 3
         Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 19 of 22




back with saying that the non-prevailing party will pay court costs. And then she sent me an
email stating that court costs would be over $8,100.
        Instead of letting everything snowball and get bigger and bigger, I went up to pay the fine
and Tyra Harrington added another $2,500 for getting ready to go to the appeal hearing on their
side (said her costs getting ready for the appeal).
        I ended up paying $18,500 in fines to clear the violation. I felt I was abused and
blackmailed or extorted by the County.
        Tyra Harrington then finally had the abatement lies removed from my title.
        When I paid all the fines including the $2500 for the abatement hearing, I received a
package. I then realized that I had unknown trespass and unreasonable searches without exigent
circumstances that were performed at my property without my knowledge or consent, I was not
notified nor advised of this until I received a Code Enforcement Division Abatement/Appeal
Hearing Report dated January 31, 2023, from the Staff: Todd Hoffman, Jesse Cablk, and Mark
Francheschi. This was mailed to me on January 19, 2023 certified 7021 2720 0000 5369 5560.
        In this report it states that on January 9, 2018, that if I don’t comply . . . (Jesse Cablk) that
they would seek an inspection warrant from the Superior Court. I have never been notified of any
such warrant. But in the same report there was enclosed 1 each Google Earth satellite photo
(Exhibit L) and 7 each ‘Drone’ photographs, taken without my knowledge, consent or exigent
circumstances.
Summer 2020 (photo 2)
June 2021 (photo 3)
August 2021 (photo 4)
October 2021 (photo 5)
July 2022 (photo 6)
September 7, 2022 (photo 7)
September 8, 2022 (photo 10)

3.             I have since gone to Sonoma County Superior Court and have been told there
NEVER has ben an inspection warrant issued regarding my properties at 6905-6911, 6913
Highway 116 South, Cotati, CA 94931.
       This is evidence that the County and these actors have been trespassing and continuing to
perform unreasonable searches without warrants, exigent circumstances, consent or notifying the
land owners of what they do in daily practice.

I declare under penalty of perjury under the laws of the State of California and the United States
that the foregoing is true and correct.

Executed on March 23, 2023.


_________________________________
Francis Greg Steil



                                                                                           Page 3 of 3
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 20 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 21 of 22
Case 4:23-cv-01007-JST Document 17 Filed 04/20/23 Page 22 of 22
